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 1                                       UNITED STATES DISTRICT COURT

 2                                           DISTRICT OF NEVADA

 3                                                       ***
      UNITED STATES OF AMERICA,
 4
                            Plaintiff,
 5                                                          2:11-cr-00347-KJD-VCF
      vs.                                                   ORDER
 6    DAVID A. LITWIN,
 7                           Defendant.
 8

 9            On October 28, 2020, this court ordered The United States Marshals Service to transport Mr.
10   Litwin to the District of Nevada and release him at the Lloyd D. George Federal Courthouse. (ECF No.
11   771). Attached is a copy of an e-mail received by my courtroom deputy clerk, from Maricela Bugarin,
12   Case Management Coordinator, FCI Terminal Island. Ms. Bugarin requests approval of a plan to
13   release Mr. Litwin at Terminal Island on 11/10/2020 and provide him with a plane ticket directly to Las
14   Vegas.
15            If no objection is filed by a party on or before 3:00 PM on November 6, 2020, the court will
16   enter an order approving this plan and directing Mr. Litwin to report to the USPO’s office as soon as he
17   arrives in Las Vegas, but in any event, not later than noon on Wednesday, November 11, 2020.
18

19            DATED this 5th day of November, 2020.
                                                                  _________________________
20
                                                                  CAM FERENBACH
21                                                                UNITED STATES MAGISTRATE JUDGE

22

23

24

25
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                  Exhibit 1




                  Exhibit 1
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Tawnee Renfro

From:               Maricela Bugarin <mbugarin@bop.gov>
Sent:               Thursday, November 5, 2020 9:26 AM
To:                 Tawnee Renfro
Subject:            Order Granting Pre-Tial Release Pending Retrial Re: LITWIN, David (Case 2:11-cr-00347-KJD-VCF)
Attachments:        771 Order for Pretrial Release_1.pdf



CAUTION - EXTERNAL:


Good Morning,

We received the attached Order regarding David Litwin. He is scheduled for release on 11/10/2020. Our understanding
is that the conviction has been VACATED as he will be going back to Pretrial. However, we are trying to get clarification
regarding the following statement:

"IT IS FURTHER ORDERED that the Bureau of Prison is permitted at least two weeks to process Defendant’s release; and
Defendant must be transported to the District of Nevada, to be release at the Lloyd D. George Federal Courthouse, 333
Las Vegas Blvd. South, Las Vegas, Nevada 89101."

The U.S. Marshals Service has informed us that they will not be transporting the inmate. As such, our plan is to purchase
a plane ticket directly to Las Vegas having him report directly to the USPO's office before noon on Tuesday, November
10, 2020.

Will you please let us know if this is an acceptable plan. Any information would be greatly appreciated.




Thank you,

Maricela Bugarin
Case Management Coordinator
FCI Terminal Island
1299 S. Seaside Ave.
Terminal Island, CA 90731
(310) 831-8961 ext. 433




>>> Jeffrey Tate 11/4/2020 7:58 AM >>>
Good morning. Just checking in to see if you have a projected release date for this inmate yet.

Thanks,

Jeff Tate

>>> GRA-DSC-TeamQuebec-S 10/29/2020 3:53 PM >>>
Good afternoon.
                                                            1
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See attached ORDER for release for the above noted inmate dated October 28, 2020. Note that the BOP is permitted at
least two weeks to process Defendant's release.

Please notify us immediately upon inmate release so SENTRY can be appropriately updated.

Thanks,

Jeff Tate




Federal Bureau of Prisons
Designation and Sentence Computation Center
346 Marine Forces Drive
Grand Prairie, Texas 75051
972-352-4400 (Main)
972-595-3152 (Fax)

Team Quebec
Tina Castleberry, Operations Manager, 972-352-4494
Maria Najar, CCS, 972-352-4469
Shonda Rubell, CCS, 972-352-4461
Jerel Johnson, CCS, 972-595-3097
Angie Crouch, CCS, 972-352-4433
Brandi Morrill, CCS, 972-595-3079
Dewan Jones, CCT, 972-352-4434
Jordan Henderson, CCT, 972-595-3086
Gabrielle Brown, CCT, 972-352-4415
Britany Yates, CCT, 972-595-3081
Jeff Tate, CCT, 972-595-3042
CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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